                                                                                                                          Case 5:21-cv-00590-JLS Document 60-1 Filed 02/18/22 Page 1 of 2




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